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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

                                     Case No. _______________

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

          Plaintiff,

 v.

 B & B SEAFOOD, INC.,

          Defendant.


                                             COMPLAINT

         Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant B & B Seafood, Inc. (“Defendant”), and alleges as follows:

                                            THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Broward County, Florida.

         2.      Defendant is a corporation organized and existing under the laws of the State of

Maryland with its principal place of business located at 61 Old York Rd, North East, MD 21901.

Defendant’s agent for service of process is Laurie Flaugher, 61 Old York Rd, North East, MD

21901.

                                  JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

         4.      This Court has personal jurisdiction over Defendant because it has maintained



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sufficient minimum contacts with this State such that the exercise of personal jurisdiction over it

would not offend traditional notions of fair play and substantial justice.

       5.        Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

Defendant or its agents reside or may be found in this district “The language ‘may be found’ means

any district which may assert personal jurisdiction over a defendant.” Johnson v. Sky Media, LLC,

No. 1:19-3269-MGL-PJG, 2020 U.S. Dist. LEXIS 73016, at *16-17 (D.S.C. Apr. 23, 2020). In

other words, venue is proper in his District because Defendant is subject to personal jurisdiction in

this District. See Big Guy's Pinball, LLC v. Lipham, No. 14-CV-14185, 2015 U.S. Dist. LEXIS

89512, at *2 (E.D. Mich. July 10, 2015).

                                                  FACTS

I.     Plaintiff’s Business and History

       6.        Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

       7.        Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

       8.        Plaintiff charges its clients (generally, grocery stores, restaurant chains, food

service companies, etc.) a minimum monthly fee of $999.00 for access to its library of professional

photographs.

       9.        Plaintiff does not license individual photographs or otherwise make individual

photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.

       10.       Plaintiff owns each of the photographs available for license on its website and

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serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.       The Work at Issue in this Lawsuit

          11.   In 2001, a professional photographer employed and/or contracted by Plaintiff

created a photograph of hot chicken wings with celery on a plate titled “ChickenWingHot007”

(the “Work”). A copy of the Work is displayed below:




          12.   The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

Copyrights on September 29, 2016 and was assigned Registration No. VA 2-019-412. A true and

correct copy of the Certificate of Registration pertaining to the Work is attached hereto as Exhibit

“A.”

          13.   Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.


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III.   Defendant’s Unlawful Activities

       14.        Defendant owns and operates a seafood market.

       15.        Defendant     advertises/markets         its     business       through      its     website

(https://www.bnbseafood.com/), social media (e.g., https://www.facebook.com/bnbseafood/) and

other forms of advertising.

       16.        On October 6, 2022 (after the above-referenced copyright registration of the Work),

Defendant displayed and/or published the Work on its website, webpage, and/or social media (at

https://www.facebook.com/photo.php?fbid=797531481668189&set=pb.100042340335778.-

2207520000.&type=3):




       17.        A true and correct copy of screenshots of Defendant’s website, webpage, and/or

social media, displaying the copyrighted Work, is attached hereto as Exhibit “B.”

       18.        Defendant is not and has never been licensed to use or display the Work. Defendant

never contacted Plaintiff to seek permission to use the Work in connection with Defendant’s

website, webpage, and/or social media – even though the Work that was copied is clearly

professional stock photography that would put Defendant on notice that the Work was not intended

for public use.

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          19.   Defendant utilized the Work for commercial use.

          20.   Upon information and belief, Defendant located a copy of the Work on the internet

and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

commercial use.

          21.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,

Plaintiff discovered Defendant’s unauthorized use/display of the Work in January 2026.

Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized use.

          22.   All conditions precedent to this action have been performed or have been waived.

                         COUNT I – COPYRIGHT INFRINGEMENT

          23.   Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set forth above.

          24.   Each photograph comprising the Work is an original work of authorship,

embodying copyrightable subject matter, that is subject to the full protection of the United States

copyright laws (17 U.S.C. § 101 et seq.).

          25.   Plaintiff owns a valid copyright in each photograph comprising the Work,

having registered the Work with the Register of Copyrights and owning sufficient rights, title, and

interest to such copyright to afford Plaintiff standing to bring this lawsuit and assert the claim(s)

herein.

          26.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

Defendant had access to the Work prior to its own reproduction, distribution, and public display

of the Work on Defendant’s website, webpage, and/or social media.

          27.   Defendant reproduced, distributed, displayed, and/or publicly displayed the Work

without authorization from Plaintiff.

          28.   By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

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violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for its own commercial purposes. Defendant’s infringement was either direct,

vicarious, and/or contributory.

       29.      Defendant’s infringement was willful as it acted with actual knowledge or reckless

disregard for whether its conduct infringed upon Plaintiff’s copyright. Defendant clearly

understands that professional photography such as the Work is generally paid for and cannot

simply be copied from the internet.

       30.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

infringement.

       31.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

of the Work, which amounts shall be proven at trial.

       32.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

       33.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

       34.      Defendant’s conduct has caused, and any continued infringing conduct will

continue to cause, irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

   a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

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  b. A declaration that such infringement is willful;

  c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

     Plaintiff’s election, an award of statutory damages for each photograph comprising the

     Work;

  d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

  e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

  f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

     successors, affiliates, subsidiaries and assigns, and all those in active concert and

     participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

     or continuing to display, transfer, advertise, reproduce, or otherwise market any works

     derived or copied from the Work or to participate or assist in any such activity; and

  g. For such other relief as the Court deems just and proper.



Dated: November 21, 2024.                         COPYCAT LEGAL PLLC
                                                  3111 N. University Drive
                                                  Suite 301
                                                  Coral Springs, FL 33065
                                                  Telephone: (877) 437-6228
                                                  dan@copycatlegal.com

                                                  By: /s/ Daniel DeSouza
                                                      Daniel DeSouza, Esq.




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